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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Criminal No. 10-cr-53-05-JD

Thomas Blank

                                  O R D E R


      The assented to motion to reschedule jury trial (document no.

95) filed by defendant Blank is granted.         As co-defendant Pafford’s

counsel orally assented to this motion, trial is continued as to both

defendants Pafford and Blank to the two-week period beginning January

18, 2012, 9:30 a.m.

      Defendant Blank shall file a waiver of speedy trial rights

within 10 days.      The court finds that the ends of justice served

by granting a continuance outweigh the best interest of the public

and the defendant in a speedy trial, 18 U.S.C. ' 3161(h)(7)(B)(iv),

for the reasons set forth in the motion.

      SO ORDERED.



                                          /s/ Joseph A. DiClerico, Jr.
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

Date:    November 16, 2011

cc:   Counsel of Record
      U.S. Marshal
      U.S. Probation
